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              IN THE UNITED STATES BANKRUPTCY COURT

               IN AND FOR THE DISTRICT OF DELAWARE


New Century TRS Holdings, Inc.,          ) Case No. 07-10416 KJC
     et al.,                             ) Chapter 11
                     Debtors,            ) Jointly Administered
                                         ) Ref. No.
         ORDER GRANTING RELIEF FROM AUTOMATIC STAY AS TO
      561 DOWNING LAKE DRIVE, HIGH SPRINGS, FLORIDA, 32643

     AND NOW, TO WIT, this _____ day of ________ A.D., 2007, Chase

Home Finance, LLC formerly known as Chase Manhattan Mortgage

Corporation’s Motion for Relief from Automatic Stay having been

heard and considered;

     IT IS HEREBY ORDERED that the Stay afforded by 11 U.S.C. §362

is hereby terminated for cause so as to permit the Movant and/or

holder of the first mortgage, as recorded in the Public Records in

Book 0923, Page 1345 in Columbia County, State of Florida for 561

Downing Lake Drive, High Springs, Florida, 32643 to enforce its

security interest in the aforesaid real property through

foreclosure proceedings, Sheriff's Sale of the property and any

other legal remedies against the property which may be available

to Chase Home Finance, LLC formerly known as Chase Manhattan

Mortgage Corporation under State law; and

     IT IS FURTHER ORDERED that Rule 4001(a)(3) is deemed not

applicable and that Chase Home Finance, LLC formerly known as

Chase Manhattan Mortgage Corporation may immediately enforce and

implement this Order granting relief from the automatic stay.




                               _____________________________________
                                                 J.
